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UN|TED STATES DlSTR|CT COURT
M|DDLE DlSTR|CT OF FLOR|DA
TAMPA D|VlS|ON

UN|TED STATES OF AMER|CA
v_ Case Number. 8:17-cr-372-T-33TGW
USM Number: 69170-018

TYRONE DEVL|N
Jason Matthew Mayberry, CJA

 

JUDGMENT |N A CR|M|NAL CASE

The defendant pleaded guilty to Counts One, Two, Three, and Four of the indictmentl The defendant is adjudicated guilty
of these offenses:

Date Offense Count
rifle & section N§$M@ QQM MM(§)
18 U.S.C. § 371 Conspiracy to Defraud the United States Ju|y 26l 2017 One
18 U.S.C. §§ 641 and 2 Theft of Government Property August 15, 2012 Two
18 U.S.C. §§ 1029(a)(3), Access Device Fraud August 16, 2012 Three
(C)(1)(A)(i) and 2
18 U.S.C. §§ 1028A and 2 Aggravated ldentity Theft August 16, 2012 Four

The defendant is sentenced as provided in pages 2 through 6 of this judgment The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

lT |S ORDERED that the defendant must notify the United States Attorney for this district Within 30 days of any change of
name, residence, or mailing address until a|| fines, restitution, costs and special assessments imposed by thisjudgment are
fully paid. lfordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change
in the defendants economic circumstancesl

Date of imposition of Judgment:

June 2 , 2018

viRoiN§¢\ ivi. HERNANDEZ coviNGToN
UN|TED STATES DlSTR|CT JUDGE

June 54 2018

AO 245B (Rev. 09/17) Judgment in a Criminal Case

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Tyrone Dev|in
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lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of ONE HUNDRED SlXTEEN (116) MONTHS. This term consists of terms of 60 months as to Count One, 92
months on each of Counts Two, and Three, to run concurrent|y, and 24 months as to Count Four to run consecutively to
all other counts. The terms of imprisonment imposed by this judgment shall run consecutive with the defendant's term of
imprisonment imposed pursuant to the judgment in Case Number15-CF-12827, of Hil|sborough County Circuit Court, in

F|orida; Case Number 15-CF-13844, of Hil|sborough County Circuit Court, in F|orida; and Case Number CR'C-15-08049~
CFAESl of Pasco County Circuit Courtl in F|orida.

The Court makes the following recommendations to the Bureau of Prisons:

o Confinement at |Vlarianna Correctional Facility for acceptance into the electrical apprentice program, or in
the alternative, Coleman Correctional Facility;

o Participation in the RDAP 500-hour intensive Drug Treatment Program.

The defendant is remanded to the custody of the United States Marshal.

 

 

 

 

 

 

 

RETURN
l have executed thisjudgment as follows: b
Defendant delivered on to
at , with a certified copy of_this judgment
UN|TED STATES lVlARSHAL
By:

 

Deputy U.S. Marsha|

AO 2453 (Rev. 09/17) Judgment in a Crimina| Case

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Tyrone Devlin
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SUPERV|SED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of THREE (3) YEARS. This term
consists of a 3~year term as to Counts One, Two, and Three and a 1-year term as to Count Four, all such terms to run
concurrently.

MANDATORY COND|T|ONS

You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance. '

- The mandatory drug testing requirements of the Violent Crime Contro| Act are imposed. The Court orders the
defendant to submit to random drug testing not to exceed 104 tests per year.

4. You must cooperate in the collection of DNA as directed by the probation officer.

9°!\’.-‘

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

The defendant shall also comply with the additional conditions on the attached page.

AO 245B (Rev. 09/17) Judgment in a Crimina| Case

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Tyrone Dev|in
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STANDARD COND|T|ONS OF SUPERV|S|ON

As part of your supervised release, you must comply with the following standard conditions of supervision These
conditions are imposed because they establish the basic expectations for your behavior while on supervision and identify
the minimum tools needed by probation officers to keep informed, report to the court about, and bring about
improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72
hours of your release from imprisonment, unless the probation officer instructs you to report to a different probation
office or within a different time frame. After initially reporting to the probation office, the defendant will receive
instructions from the court or the probation officer about how and when the defendant must report to the probation
officer, and the defendant must report to the probation officer as instructed

2. After initially reporting to the probation officel you will receive instructions from the court or the probation officer
about how and when you must report to the probation officer, and you must report to the probation officer as
instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting

permission from the court or the probation officer.

You must answer truthfully the questions asked by your probation officer

You must live at a place approved by the probation officer. |f you plan to change where you live or anything about

your living arrangements (such as the people you live with), you must notify the probation officer at least 10 days

before the change. |f notifying the probation officer in advance is not possible due to unanticipated circumstances,
you must notify the probation officer within 72 hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewherel and you must permit the
probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
view.

7. You must work full time (at least 30 hours per week) at a lawful type of employmentl unless the probation officer
excuses you from doing so. lf you do not have full-time employment you must try to find full-time employment,
unless the probation ocher excuses you from doing so. lf you plan to change where you work or anything about
your work (such as your position or yourjob responsibilities), you must notify the probation officer at least 10 days
before the change. lf notifying the probation officer at least 10 days in advance is not possible due to
unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change
or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. lf you know someone
has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
the permission of the probation officer. v

9. |f you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon
(i.e., anything that was designedl or was modified for, the specific purpose of causing bodily injury or death to
another person such as nunchakus or tasers).

.U"P

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
informant without first getting the permission of the court.
12. lf the probation officer determines that you pose a risk to another person (inc|uding an organization), the probation

ocher may require you to notify the person about the risk and you must comply with that instruction. The probation
officer may contact the person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use On|y

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written
copy of this judgment containing these conditions For further information regarding these conditions, see Overview of
Probation and Superv/`sed Re/ease Conditions, available at: www.uscourts.gov.

 

Defendant’s Signature: Date:

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Tyrone Dev|in
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ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

1. The defendant shall participate in a substance abuse program (outpatient and/or inpatient) and follow the probation
officer’s instructions regarding the implementation of this court directive. Further, the defendant shall contribute to
the costs of these services not to exceed an amount determined reasonable by the Probation Office’s Sliding Scale
for Substance Abuse Treatment Services. During and upon completion of this program, the defendant is directed
to submit to random drug testing. '

2. The defendant shall participate in a mental health treatment program (outpatient and/or inpatient) and follow the
probation officer’s instructions regarding the implementation of this court directive. Further, the defendant shall
contribute to the costs of these services not to exceed an amount determined reasonable by the Probation Office’s
Sliding Sca|e for lVlental Health Treatment Services.

3. The defendant shall be prohibited from incurring new credit charges, opening additional lines of credit, or
obligating yourself for any major purchases without approval of the probation officer.

4. The defendant shall provide the probation officer access to any requested financial information.

AO 245B (Rev. 09/17) Judgment in a Criminal Case

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Tyrone Dev|in
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CR|M|NAL MONETARY PENALT|ES

The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth
in the Schedule of Payments.

Assessment JVTA Assessment ' Fine Restitution

TOTALS $400.00 N/A Waived $435,499.00

The defendant must make restitution (inc|uding community restitution) to the following payees in the amount listed
below.

if the defendant makes a partial payment each payee shall receive an approximately proportioned payment unless
specified otherwise in the~priori_ty order or percentage payment column beiow. i-iowever, pursuant to 18 U.S.C. § 3664(|)l
all nonfederal victims must be paid in full prior to the United States receiving payment

Name of Payee Restitution Ordered

internal Revenue Service $435,499.00

SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to payl payment of the total criminal monetary penalties are due as foilows:
' Lump sum payment of $400.00 due immediately

The defendant shall pay restitution in the amount of $435,499 to the internal Revenue Service. This restitution obligation
shall be payable to the C|erk, U.S. District Court for distribution to the victim(s). Restitution shall be paid jointly and severally
with |Viarquis Thornton. Whiie in Bureau of Prisons custody, you shall either (1) pay at iea_st $25 quarterly if you have a non-
Unicorjob or (2) pay at least 50% of monthly earnings if you have a Unicorjob. Upon release from custodyl the defendant
shall begin making payments of $150 per month, and this payment schedule shall continue unless the victim, the
governmentl or the defendant notifies the Court of a material change in the defendant's ability to pay and the Court modifies
the scheduie. The Court finds that the defendant does not have the ability to pay interest and the Court waives the interest
requirement for the restitution '

Uniess the court has expressly ordered otherwise in the special instructions abovel if this judgment imposes a period of
imprisonment payment of criminal monetary penalties shall be due during the period of imprisonment Ali criminal monetary
penalties, except those payments made through the Federai Bureau of Prisons’ inmate Financia| Responsibility Programl
are made to the clerk of the court unless otherwise directed by the court the probation officer, or the United States attorney.

The defendant shall receive credit for ali payments previously made toward any criminal monetary penalties imposed.

Payments shall be applied in the following order: (1) assessment (2) restitution principai, (3) restitution interest (4) fine
principai, (5) fine interest (6) community restitution, (7) JVTA assessment (8) penalties, and (9) costsl including cost of
prosecution and court costs.

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Restitution shall be paid jointly and severally with Marquis Thornton.

FORFE|TURE
Defendant shall forfeit to the United States those assets identified in the Order of Forfeiture signed and dated
6/28/18 (Dkt. 140) that are subject to forfeiture The Order shall be made a Finai Order today.

 

' Justice for Victims of Trafflcking Act of 2015, Pub. L. No. 114-22. '
" Findings for the total amount of losses are required under Chapters 109A. 110. 110A, and 113A of Titie 18 for offenses committed on or after
September 13. 1994l but before April 23, 1996.

AO 245B (Rev. 09/17) Judgment in a Criminal Case

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
UNITED STATES OF AMERICA
v. Case No. 8:17-cr-372-T-33TGW
TYRONE DEVLIN
ORDER OF FORFEITURE

THIS CAUSE comes before the Court upon the United States of -
America's motion for an order of forfeiture against the defendant in the amount
of $26,852.35.

Being fully advised of the relevant facts, the Court hereby finds that at
least $26,852.35 in proceeds Was obtained by the defendant as a result of his
participation in the conspiracy to commit theft of government property and
access device fraud charged in Count One of the indictment and the offenses of
theft of government property and access device fraud, charged in Counts TWo
and Three, for which he pled guilty. -

Accordingly, it is hereby:

ORDERED, ADJUDGED, and DECREED that for good cause shown,
the United States’ motion is GRANTED.

It is FURTHER ORDERED that, pursuant to 18 U.S.C. §§ 981(a)(1)(C)

and 982(a)(2)(B), 28 U.S.C. § 2461(c), and Rule 32.2(b)(2) of the Federal Rules

 

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of Criminal Procedure, the defendant shall be held liable for an order of
forfeiture in the amount of $26,852.35.

It is FURTHER ORDERED that, because the $26,852.35 in proceeds
Was dissipated by the defendant the United States may seek, as a substitute
asset, pursuant to-21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b)(1)
and/ or 28 U.S.C. § 2461_(c), forfeiture of any of the defendant’s property up to
the value of $26,852.35.

It is FURTHER ORDERED that, upon entry, this order shall become a
final order of forfeiture as to the defendant

The Court retains jurisdiction to address any third party claim that may

be asserted in these proceedings, to enter any further order necessary for the

 

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forfeiture and disposition of such property, and for any substitute assets that the
United States may be entitled to seek up to the amount of the order o forfeiture.

DONE and ORDERED in Tampa, Florida, this O?j day

of CSW>""/ .2018.

vIRG IA'M. HERN Ez CoviNGToN
UNIT D sTATEs DIST cT JUDGE

 

Copies to:
Suzanne C. Nebesky, AUSA
Counsel of Record

 

